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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


In re:
                                                        Chapter 11
The Roman Catholic Diocese of
Ogdensburg, New York,                                   Case No. 23-60507 (PGR)

                                 Debtor.


     NOTICE OF FILING OF SEVENTH MONTHLY FEE STATEMENT OF
 PACHULSKI STANG ZIEHL & JONES LLP FOR COMPENSATION FOR SERVICES
 RENDERED AND REIMBURSEMENT OF EXPENSES AS COUNSEL TO OFFICIAL
   COMMITTEE OF UNSECURED CREDITORS FOR THE ROMAN CATHOLIC
        DIOCESE OF OGDENSBURG, NEW YORK FOR THE PERIOD
               MARCH 1, 2024 THROUGH MARCH 31, 2024

                    PLEASE TAKE NOTICE that in accordance with the Order Establishing

Procedures for Interim Compensation and Reimbursement for Expenses for Professionals and

Members of Official Committees [Docket No. 250], Pachulski Stang Ziehl & Jones LLP has filed

its Seventh Monthly Fee Statement for Compensation for Services Rendered and Reimbursement

of Expenses as Counsel to the Official Committee of Unsecured Creditors for the Roman

Catholic Diocese of Ogdensburg, New York for the Period March 1, 2024 Through March 31,

2024, a copy of which is attached hereto and is hereby served upon you.




4880-4435-8327.1 18493.002
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Dated: New York, New York                PACHULSKI STANG ZIEHL & JONES LLP
       April 18, 2024
                                         /s/ Ilan D. Scharf
                                         James I. Stang, Esq. (admitted pro hac vice)
                                         Ilan D. Scharf, Esq.
                                         Karen B. Dine, Esq.
                                         780 Third Avenue, 34th Floor
                                         New York, NY 10017-2024
                                         Telephone: (212) 561-7700
                                         Facsimile: (212) 561-7777
                                         Email: jstang@pszjlaw.com
                                         Email: ischarf@pszjlaw.com
                                         Email: kdine@pszjlaw.com

                                         Counsel for the Official Committee of Unsecured
                                         Creditors of The Roman Catholic Diocese of
                                         Ogdensburg, New York




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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK


In re:
                                                                   Chapter 11
The Roman Catholic Diocese of
Ogdensburg, New York,                                              Case No. 23-60507 (PGR)

                                    Debtor.


SEVENTH MONTHLY FEE STATEMENT OF PACHULSKI STANG ZIEHL & JONES
LLP FOR COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT
   OF EXPENSES AS COUNSEL TO OFFICIAL COMMITTEE OF UNSECURED
 CREDITORS FOR THE ROMAN CATHOLIC DIOCESE OF OGDENSBURG, NEW
     YORK FOR THE PERIOD MARCH 1, 2024 THROUGH MARCH 31, 2024

    Name of Applicant                                         Pachulski Stang Ziehl & Jones LLP

    Authorized to Provide Professional Services               Official Committee of Unsecured Creditors
    to:

    Date of Retention:                                        August 17, 20231

    Period for which compensation and                         3/1/24-3/31/24
    Reimbursement is sought:

    Amount of compensation sought as well as                  $ 100,110.00
    actual, reasonable and necessary:

    Amount of expense reimbursement sought as                 $ 1,117.00
    actual, reasonable and necessary:



This is a monthly fee statement. It is the seventh monthly fee statement by Pachulski Stang Ziehl
& Jones LLP.2



1
    The order approving the employment of PSZJ was entered by the Court on October 16, 2023 [Docket No. 193].
2
  Pursuant to the Order Establishing Procedures for Interim Compensation and Reimbursement for Expenses for
Professionals and Members of Official Committees [Docket No. 250], attached as Exhibit A is the following: (i) a
list of the individuals and their respective titles who provided services during the statement period, (ii) their
respective billing rates, (iii) the aggregate hours spent by each individual, (iv) a reasonably detailed breakdown of
the disbursements incurred, and (v) contemporaneously maintained time entries for each individual in increments of
tenths (1/10) of an hour.


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Dated: New York, New York                PACHULSKI STANG ZIEHL & JONES LLP
       April 18, 2024
                                         /s/ Ilan D. Scharf
                                         James I. Stang, Esq. (admitted pro hac vice)
                                         Ilan D. Scharf, Esq.
                                         Karen B. Dine, Esq.
                                         780 Third Avenue, 34th Floor
                                         New York, NY 10017-2024
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                                         Email: kdine@pszjlaw.com

                                         Counsel for the Official Committee of Unsecured
                                         Creditors of The Roman Catholic Diocese of
                                         Ogdensburg, New York




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